                          Case
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                                                                                               (NOTE:    4 Changes with Asterisks (*))
                                                                                                      Identify
                     Sheet 1


                                        UNITED STATES DISTRICT COURT
                                                     __________  District
                                                       Southern District of of
                                                                            New__________
                                                                                 York
                                                                            )
               UNITED STATES OF AMERICA
                                                                            )
                                                                                AMENDED JUDGMENT IN A CRIMINAL CASE
                                  v.                                        )
                                                                            )   Case Number:
                                                                            )   USM Number:
Date of Original Judgment:                                                  )
                                       (Or Date of Last Amended Judgment)   )

THE DEFENDANT:
    pleaded guilty to count(s)
   pleaded nolo contendere to count(s)
   which was accepted by the court.
   was found guilty on count(s)
   after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                  Nature of Offense                                                          Offense Ended                Count




       The defendant is sentenced as provided in pages 2 through                         of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
    The defendant has been found not guilty on count(s)
    Count(s)                                                 is      are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                Date of Imposition of Judgment


                                                                                               dge
                                                                                                ge
                                                                                                ge
                                                                                Signature of Judge

                                                                                Name and Title of Judge


                                                                                Date
                        Case
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                                                                                                        (NOTE: Identify Changes with Asterisks (*))
                                                                                                                                 of
DEFENDANT:
CASE NUMBER:

                                                           IMPRISONMENT

        The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
total term of :




       The court makes the following recommendations to the Bureau of Prisons:




       The defendant is remanded to the custody of the United States Marshal.

       The defendant shall surrender to the United States Marshal for this district:
             at                                      a.m.           p.m.      on                                       .

             as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

             before 2 p.m. on                                            .

             as notified by the United States Marshal.

             as notified by the Probation or Pretrial Services Office.


                                                                RETURN
I have executed this judgment as follows:




       Defendant delivered on                                                        to

at                                                   with a certified copy of this judgment.




                                                                                                UNITED STATES MARSHAL


                                                                         By
                                                                                           DEPUTY UNITED STATES MARSHAL
                         Case
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                                                                                                         (NOTE: Identify Changes with Asterisks (*))


DEFENDANT:
CASE NUMBER:
                                                     SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of :




                                                 MANDATORY CONDITIONS
1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
               The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
               substance abuse. (check if applicable)
4.       You must make restitution in accordance with 18 U.S.C. § 3663 and 3663A or any other statute authorizing a sentence of
          restitution. (check if applicable)
5.       You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.       You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
         directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
         reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.       You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached page.
                        Case
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                                                                                                          (NOTE: Identify Changes with Asterisks (*))
                                                                                                                               of
DEFENDANT:
CASE NUMBER:
                                            CRIMINAL MONETARY PENALTIES
    The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                    Assessment                                                              AVAA Assessment*           JVTA Assess
TOTALS          $                     $                           $                     $                          $


    The determination of restitution is deferred until                 . An Amended Judgment in a Criminal Case (AO 245C) will be
    entered after such determination.

    The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
    before the United States is paid.

Name of Payee                             Total Loss***                      Restitution Ordered                    Priority or Percentage




TOTALS                           $                                       $


     Restitution amount ordered pursuant to plea agreement $

     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

     The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

         the interest requirement is waived for           fine         restitution.

         the interest requirement for the         fine           restitution is modified as follows:



* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.
